       Case 4:23-cv-00934 Document 37 Filed on 10/29/24 in TXSD Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 SHYSHA LEWIS,                                §
                                              §
      Plaintiff,                              §
                                              §
 v.                                           §    CIVIL ACTION NO. 4:23-cv-00934
                                              §
 WELLS FARGO BANK, N.A.,                      §
                                              §
      Defendant.                              §


              JOINT SCHEDULING AND DOCKET CONTROL ORDER


        Pursuant to the Court’s Order dated October 22, 2024 (Dkt. 36), Plaintiff Shysha

Lewis and Defendant Wells Fargo Bank, N.A. submit the following Joint Scheduling and

Docket Control Order for the submission of the following schedule that will control

disposition of this case:

              Date                                  Event

          12/6/2024     New Party Joinder Deadline. The party causing the addition
                        of a new party must provide copies of this Order and all
                        previously entered Orders to the new party.

          12/6/2024     Amendment of Pleadings. Any party seeking leave to amend
                        pleadings after this date must show good cause.

          3/21/2025     Completion of Discovery. Discovery requests are not timely
                        if the deadline for response under the Federal Rules of Civil
                        Procedure falls after this date. Parties may by agreement
                        continue discovery beyond the deadline.




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JOINT SCHEDULING AND DOCKET CONTROL ORDER                                               PAGE 1
     Case 4:23-cv-00934 Document 37 Filed on 10/29/24 in TXSD Page 2 of 4




        3/21/2025       Further Mediation or Settlement Conference before the
                        Magistrate Judge. The parties must complete a second
                        mediation or other form of dispute resolution.

        4/21/2025       Deadline for Joint Pretrial Order and Motions in Limine.
                        The Joint Pretrial Order must contain the pretrial disclosures
                        required by Rule 26(a)(3). Plaintiff is responsible for timely
                        filing of the complete Joint Pretrial Order. Failure to do so may
                        lead to dismissal or other sanction in accordance with
                        applicable rules.

                        Docket Call. The parties suggest docket call be set 30 to 60
                        days after the submission the joint pretrial order. Docket call
                        will occur at _________________ in Courtroom 9F, United
                        States Courthouse, 515 Rusk, Houston, Texas. The Court will
                        not consider documents filed within seven days of docket call.
                        The Court may rule on pending motions at docket call and will
                        set the case for trial as close to docket call as practicable.


       The parties respectfully request the Court’s approval of this updated schedule to

facilitate the orderly disposition of this case.




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JOINT SCHEDULING AND DOCKET CONTROL ORDER                                               PAGE 2
     Case 4:23-cv-00934 Document 37 Filed on 10/29/24 in TXSD Page 3 of 4




Respectfully submitted,




 /s/ Jeffrey C. Jackson with permission___      /s/ Helen O. Turner
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                                                ATTORNEYS FOR DEFENDANT




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JOINT SCHEDULING AND DOCKET CONTROL ORDER                                               PAGE 3
     Case 4:23-cv-00934 Document 37 Filed on 10/29/24 in TXSD Page 4 of 4




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served,
via the Court’s CM/ECF System, USPS Certified Mail, Fax Transmission, and/or E-Mail
to all counsel of record on this 29th day of October, 2024.

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       Counsel for Plaintiff


                                                  /s/ Helen O. Turner
                                                  Counsel for Defendant




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JOINT SCHEDULING AND DOCKET CONTROL ORDER                                               PAGE 4
